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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION


Raphael P. Angeles,
________________________                         :
                                                 :                 1:22-cv-00244
                                                          Case No. ______________
                      Plaintiff(s)               :
                                                 :        District Judge Susan J. Dlott
       v.                                        :
 First Advantage Background Services Corp.,      :        JOINT DISCOVERY PLAN
________________________                         :
                                                 :
                      Defendant(s)               :


       Now come all parties to this case, by and through their respective counsel, and hereby jointly

submit to the Court this Joint Discovery Plan, pursuant to the Court’s Pretrial Procedure Outline.

                                                    August 23, 2022
The parties conducted their discovery conference on ___________________.

       1.      MAGISTRATE CONSENT

       The Parties:

       G       unanimously consent to the jurisdiction of the United States Magistrate Judge
               pursuant to 28 U.S.C. § 636 (c).

       G       do not unanimously consent to the jurisdiction of the United States Magistrate Judge
               pursuant to 28 U.S.C. § 636 (c).

       G       unanimously give contingent consent to the jurisdiction of the United States
               Magistrate Judge pursuant to 28 U.S.C. § 636 (c), for trial purposes only, in the event
               that the District Judge assigned is unavailable on the date set for trial (e.g. because
               of other trial settings, civil or criminal).
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 2.     RULE 26(A) DISCLOSURES

 G      There are no changes that need to be made in the timing, form, or requirement for
        disclosures under Rule 26(a). All disclosures required by Rule 26(a)(1) have been
        made by the parties hereto or will be made by the time of the scheduled Preliminary
        Pretrial Conference.

 G      The parties agree to delay the initial disclosure until _________________. The
        purpose of delay is

        G       to give the Court time to rule on the pending dispositive motion.

        G       ____________________________________________________________.

 3.     DISCOVERY ISSUES AND DATES

 A.     Describe the subjects on which discovery is to be sought and the nature, extent, and
        scope of discovery that each party needs to: (i) make a settlement evaluation; (ii)
        prepare for case dispositive motions; and (iii) prepare for trial:
        The parties need discovery about the facts and communications relating to Plaintiff's
        __________________________________________________________________
        background report, his dispute of the report, and his alleged damages; Plaintiff's
        __________________________________________________________________
        employment, litigation, and relevant medical history; First Advantage's policies
        ________________________________.
        and procedures. To evaluate settlement, First Advantage needs information about
        __________________________________________________________________
        Plaintiff's damages, including any lost wages, and the disputed criminal record. For
        __________________________________________________________________

        dispositive motions and trial, First Advantage needs to complete full discovery. To
        ________________________________.
        evaluate settlement, Plaintiff needs information about Defendant's policies and
        __________________________________________________________________
        procedures, actions taken herein, and net worth. For dispositive motions and trial,
        __________________________________________________________________
        Plaintiff needs full discovery.
        ________________________________.
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 B.     Discovery of Electronically Stored Information. The parties have discussed
        disclosure, discovery, and preservation of electronically stored information,
        including the form or forms in which it should be produced.

        ____________Yes
        ____________ No

        (i) The parties have electronically stored information in the following formats:
        The parties have electronically stored information in a variety of formats, such as
        __________________________________________________________________
        .csv, .pdf, .doc, and .msg. The parties agree to produce documents in readable and
        __________________________________________________________________
        searchable .pdf format where possible.
        _______________________________.
        The parties agree to produce spreadsheets and recordings in native format.
        __________________________________________________________________

        __________________________________________________________________

        _______________________________.

        (ii) The case presents the following issues relating to disclosure, discovery, or
        preservation of electronically stored information, including the form or forms in
        which it should be produced:

         None.
        __________________________________________________________________

        __________________________________________________________________

        _______________________________.

        __________________________________________________________________

        __________________________________________________________________

        _______________________________.
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 C.     Claims of Privilege or Protection. The parties have discussed issues regarding the
        protection of information by a privilege or the work-product doctrine, including
        whether the parties agree to a procedure to assert these claims after production or
        have any other agreements under Fed. R. Evid. 502.

        ________Yes

        ________ No

        (i) The case presents the following issues relating to claims of a privilege or of
        protection as trial preparation materials:
        None. The parties agree that privileged and protected materials created since
        __________________________________________________________________
         counsel were retained in this action or since the action was filed do not need to be
        __________________________________________________________________
        detailed on a privilege log.
        _______________________________.
        Inadvertent production of privileged materials shall not constitute a waiver of
        __________________________________________________________________
        privilege provided the producing party notifies the receiving party promptly upon
        __________________________________________________________________
        discovery of the inadvertent productionn.
        _______________________________.

        (ii) Have the parties agreed on a procedure to assert such claims AFTER production?

        __________Yes

        __________No

        __________Yes, and the parties ask that the Court include the following agreement
        in the scheduling order:
        The parties will include a clawback provision in their draft protective
        _________________________________________________________
        order to be submitted to the Court.
        _________________________________________________________
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 D.     The parties recommend that discovery

        G      need not be bifurcated

        G      should be bifurcated between liability and damages

        G      should be bifurcated between factual and expert

        G      should be limited in some fashion or focused upon particular issues which
               relate to ______________________________________

 E.     Disclosure and report of plaintiff expert(s) by      May 5, 2023
                                                             ________________________

 F.     Disclosure and report of defendant expert(s) by      June 16, 2023
                                                             ________________________

 G.     Discovery cutoff                                     July 14, 2023
                                                             _________________________

 H.     Anticipated discovery problems

        G      ____________________________________________________________.

        G      None

 4.     LIMITATIONS ON DISCOVERY

 A.     Changes in the limitations on discovery

        G      Extension of time limitations (currently one day of seven hours) in taking of
               depositions to __________________.

        G      Extension of number of depositions (currently 10) permitted to __________.

        G      Extension of number of interrogatories (currently 25) to ________________.

        G      Other: ______________________________________________________.

        G      None
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       B.     Protective Order

              G      A protective order will likely be submitted to the Court on or before
                     Sept. 30, 2022
                     _______________.

              G   The parties currently do not anticipate the need for a protective order. If the
                  parties subsequently deem that one is necessary, they will submit a joint
                  proposed order to the Court. Such order will be in compliance with )0*3-
                  &6485" '3+# v. $28- %6477 $28- )01-2, 4. (1+01/*3, )&' F.3d 2** (6th Cir.
                  &$%().
       5.     OTHER COURT ORDERS UNDER RULE 26(C) OR RULE 16(B) AND (C)

       G      The plaintiff anticipates the need for the Court to set a deadline to allow for the
              amendment of the complaint to

              G      add parties.

              G      add additional claims.

              G      add factual allegations to support original claim(s).

              G      ____________________________________________________________.


Signatures:   Amy L. Wells
              ____________________                  Elizabeth Callan
                                                    __________________________
              Attorney for Plaintiff(s)             Attorney for Defendant(s)

              ____________________                  ___________________________
              Attorney for Plaintiff(s)             Attorney for Defendant(s)

              ____________________
              Attorney for __________
